 Case 1:21-cv-00594-HYJ-SJB ECF No. 1, PageID.1 Filed 07/14/21 Page 1 of 12




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


O’DADDY, LLC and SMOKE                           )
DADDY FOODS, LLC,                                )
                                                 )
               Plaintiffs,                       )   Case No.
                                                 )
vs.
                                                 )
CHRISTOPHER SLOCUM d/b/a                         )
SMOKE DADDY’S,                                   )   JURY TRIAL DEMANDED
                                                 )
               Defendant.                        )
                                                 )
                                                 )
                                         COMPLAINT

          Plaintiffs, O’Daddy, LLC and Smoke Daddy Foods, LLC (“Plaintiffs” or “Smoke

Daddy”), by its attorneys, hereby brings this Complaint against Defendant Christopher Slocum

d/b/a Smoke Daddy’s, (“Defendant”) for (1) trademark infringement in violation of Section 32 of

the Lanham Act, 15 U.S.C. §1114, (2) false designation of origin and unfair competition in

violation of Section 43(a) of the Lanham Act, 15 U.S.C. §1125(a), and (3) cybersquatting in

violation of Section 43(d) of the Lanham Act, 15 U.S.C. §1125(d).

                                           INTRODUCTION

      1. Plaintiff, O’Daddy, LLC owns and operates two Chicago-based restaurants under the

name SMOKE DADDY, both of which are well-known for their barbeque food offerings.

      2. One of the SMOKE DADDY restaurants is located in the popular Wicker Park

neighborhood of Chicago and the other is located in Hotel Zachary, just across the street from

Wrigley Field.

      3. Both Plaintiff entities have common ownership and control over the trademarks asserted

herein.
                                                1
 Case 1:21-cv-00594-HYJ-SJB ECF No. 1, PageID.2 Filed 07/14/21 Page 2 of 12




   4. Plaintiff O’Daddy, LLC has been continuously and exclusively using SMOKE DADDY

in commerce in connection with its restaurant and bar/tavern services since at least as early as

August 31, 1993 through its predecessor in interest, and Plaintiff Smoke Daddy Foods, LLC has

been continuously and exclusively using SMOKE DADDY in connection with its BBQ sauces

and spice rub since 2008, and with its non-alcoholic bloody mary mix since at least 2012.

   5. Since that time, O’Daddy, LLC’s SMOKE DADDY restaurants have received national

publicity, being featured by Eater Magazine as one of “Chicago’s Essential Barbecue

Restaurants” and hotelmanagement.com announcing the opening of the second SMOKE

DADDY restaurant.

   6. Upon information and belief, on or about June 10, 2021, Defendant Christopher Slocum

d/b/a SMOKE DADDY’S posted a sign on the property located at 515 Williams Street, Unit 5

and 6, South Haven, Michigan stating:

                                       SMOKE DADDY’S

                                          B.B.Q. JOINT

                                          Opening Soon!

   A photograph of this sign is attached hereto as Exhibit A.

   7. South Haven, Michigan is approximately 130 miles, or about a two hour drive from

Chicago, Illinois. Due to its proximity to Chicago, South Haven, Michigan has been referred to

as a “resort town” that draws vacationers from Chicago.

   8. On June 14, 2021, counsel for Plaintiffs sent Mr. Slocum a cease and desist letter

advising Mr. Slocum of the federally registered SMOKE DADDY trademarks asserted herein

and requesting that Mr. Slocum cease use of SMOKE DADDY’S or any other confusingly

similar trademark.


                                                 2
 Case 1:21-cv-00594-HYJ-SJB ECF No. 1, PageID.3 Filed 07/14/21 Page 3 of 12




   9. Upon information and belief, Mr. Slocum has not ceased use of SMOKE DADDY’S

despite being aware of Plaintiffs’ federally registered trademarks.

                                                PARTIES

   10. O’Daddy, LLC is an Illinois limited liability company with a principal place of business

at 1804 West Division Street, Chicago, Illinois 60622.

   11. Smoke Daddy Foods, LLC is an Illinois limited liability company with a principal place

of business at 1804 West Division Street, Suite 2F, Chicago, Illinois 60622.

   12. Plaintiff, O’Daddy, LLC owns and operates two Chicago-based restaurants under the

name SMOKE DADDY, both of which are well-known for their barbeque food offerings and

branded sauces and drink mixes. These branded sauces and drink mixes are also sold separately

by Plaintiff, Smoke Daddy Foods, LLC.

   13. Defendant Christopher Slocum d/b/a Smoke Daddy’s is an individual conducting

business at 515 Williams Street, # 5 & 6, South Haven, Michigan 49090.

   14. Upon information and belief, Christopher Slocum is the owner of and is personally

responsible for the selection and use of the imposter name “Smoke Daddy’s” in connection with

his BBQ restaurant. As a result, Mr. Slocum is personally liable for acts of trademark

infringement.

                                JURISDICTION AND VENUE

   15. This action arises under the trademark laws of the United States 15 U.S.C. § 1051 et seq.

The Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338(a).

   16. Venue is proper in this District pursuant to 28 U.S.C. § 1391(a) and (b) because the

Defendant conducts business in this judicial district, upon information and belief the Defendant




                                                 3
 Case 1:21-cv-00594-HYJ-SJB ECF No. 1, PageID.4 Filed 07/14/21 Page 4 of 12




resides in this business, and this is the judicial district in which a substantial part of the acts and

omissions giving rise to the claims occurred.

                           PLAINTIFFS’ TRADEMARKS AND BUSINESS

    17. Plaintiffs are the exclusive owner of all rights, title, and interest to the following

respective SMOKE DADDY trademarks in connection with the respective goods and services

(collectively the “SMOKE DADDY Trademarks”):

 Mark                   Identification                            Date of First Use in Commerce
 SMOKE DADDY            Class 43: Restaurant and bar/tavern       August 31, 1993
 Reg. No. 2816696       services
 SMOKE DADDY            Class 30: BBQ sauces, and spice           2008
 Reg. No. 4839629       rub.
                        Class 32: non-alcoholic bloody mary       2012
                        mix


    Copies of the certificates of registration for the SMOKE DADDY Trademarks are attached

as Exhibit B.

    18. SMOKE DADDY (Reg. No. 4839629) is incontestable under 15 U.S.C. § 1065 due to

Plaintiff, Smoke Daddy Foods, LLC’s continuous use of the marks in commerce since at least as

early as 2008 with BBQ sauces and spice rub, and at least as early as 2012 with non-alcoholic

bloody mary mix.

    19. Plaintiffs have continuously used the domain name thesmokedaddy.com to market and

advertise its services since at least October 5, 2002. See Exhibit C.

    20. Plaintiff, Smoke Daddy Foods, LLC, sell its BBQ sauces, rubs and bloody mark mixes on

its website thesmokedaddy.com. See, e.g., https://smokedaddy.securetree.com/Shop/Sauces-

Rubs/

    21. Plaintiff Smoke Daddy Foods, LLC currently sells its products under the SMOKE

DADDY mark both to individuals located in Michigan as well as to sports bars and grocery

                                                   4
 Case 1:21-cv-00594-HYJ-SJB ECF No. 1, PageID.5 Filed 07/14/21 Page 5 of 12




stores located in Michigan. Plaintiff, Smoke Daddy Foods, LLC has also sold its products under

the SMOKE DADDY mark to Costco in Michigan.

   22. Through continuous and extensive use since its adoption, Plaintiffs’ SMOKE DADDY

Trademarks have achieved widespread recognition and have become a hallmark of its domestic

goodwill.

   23. Plaintiffs have expended a substantial amount of time, energy, and resources in

marketing, promoting, and advertising under the SMOKE DADDY brand.

   24. As a result of Plaintiffs’ marketing efforts and top-quality goods and services, the

SMOKE DADDY Trademarks serve as strong source identifiers for Plaintiffs’ goods and

services.

                        DEFENDANTS’ INFRINGING ACTIVITIES

   25. On and information and belief, Mr. Slocum has registered one or more domain names

using the term SMOKE DADDYS.

   26. As evidenced by Exhibit A, Mr. Slocum has announced that the SMOKE DADDY’S

BBQ restaurant is “opening soon” and may have as of the date of this complaint already opened,

despite knowledge of the SMOKE DADDY Trademarks at least as early as June 15, 2021 when

the cease and desist correspondence was delivered to Defendant.

   27. Defendant has merely added “’S” to the end of the SMOKE DADDY Trademarks and is

or will be offering identical services as those offered under the federally registered SMOKE

DADDY Trademarks.

   28. Defendants’ adoption and use of the SMOKE DADDY’S mark is likely to cause

confusion, mistake, or deception as to the source, association, affiliation, or sponsorship of




                                                 5
  Case 1:21-cv-00594-HYJ-SJB ECF No. 1, PageID.6 Filed 07/14/21 Page 6 of 12




Defendant’s services. Ordinary consumers will mistakenly believe that Defendant’s restaurant

services are owned, sponsored, or otherwise affiliated or approved by Plaintiffs.

    29. The photograph attached as Exhibit A was sent to Plaintiffs by a consumer visiting South

Haven, Michigan who mistakenly believed that Defendant’s restaurant “opening soon” was in

fact a third location owned by Plaintiff O’Daddy, LLC.

    30. Defendants’ conduct was, and continues to be, in bad faith, willful, deliberate and in

knowing violation of the law.

    31. Plaintiffs will be irreparably injured if Defendant’s unlawful acts are allowed to continue.

    32. Defendant’s actions are unlawful and have damaged Plaintiffs in an amount not yet

calculated.

                                    COUNT I
                FEDERAL TRADEMARK INFRINGEMENT (LANHAM ACT § 32)

    33. Plaintiffs repeat and incorporate by reference the allegations contained in Paragraphs 1

through 32 as if fully set forth herein.

    34. Section 32 of the Lanham Act, 15 U.S.C. § 1114(1)(a), provides in pertinent part that

“[a]ny person who shall, without the consent of the registrant — use in commerce any

reproduction, counterfeit, copy, or colorable imitation of a registered mark in connection with the

sale, offering for sale, distribution, or advertising of any goods or services on or in connection

with which such use is likely to cause confusion, or to cause mistake, or to deceive . . . shall be

liable in a civil action by the registrant . . . .”

    35. Upon information and belief, Defendant is offering services using a colorable imitation of

Plaintiffs’ registered SMOKE DADDY Trademarks in connection with its services, business,

and website without Plaintiffs’ permission. Such unauthorized use in commerce is likely to



                                                      6
 Case 1:21-cv-00594-HYJ-SJB ECF No. 1, PageID.7 Filed 07/14/21 Page 7 of 12




cause confusion or mistake or deception among prospective or actual customers and other

members of the public, in violation of Section 32 of the Lanham Act.

    36. Defendant’s acts of infringement in violation of Section 32 of the Lanham Act are

malicious, fraudulent, willful, and deliberate.

    37. Defendant has willfully intended to trade on the recognition of the reputation of Plaintiffs

and the SMOKE DADDY Trademarks.

    38. Defendant’s acts of infringement in violation of Section 32 of the Lanham Act have

inflicted and, if not enjoined, will continue to inflict irreparable harm on Plaintiffs. Thus,

Plaintiffs have no adequate remedy at law.

    39. Pursuant to 15 U.S.C. § 1117, Plaintiffs are entitled to recover damages in an amount to

be determined at trial, including Defendant’s profits, losses sustained by Plaintiffs due to

Defendant’s infringing conduct, and costs of the action. Defendant’s actions were undertaken

willfully and with the intention of causing confusion, mistake, or deception, making this an

exceptional case entitling Plaintiffs to recover additional treble damages and reasonable

attorneys’ fees pursuant to 15 U.S.C. § 1117.

                                   COUNT II
             FEDERAL UNFAIR COMPETITION AND FALSE DESIGNATION OF
                          ORIGIN (LANHAM ACT § 43(a))

    40. Plaintiffs repeat and incorporate by reference the allegations contained in Paragraphs 1

through 39 as if fully set forth herein.

    41. Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a), provides in pertinent part that

“[a]ny person who, on or in connection with any goods or services . . . uses in commerce any

word, term, name, symbol . . . . or any false designation of origin . . . which is likely to cause




                                                  7
 Case 1:21-cv-00594-HYJ-SJB ECF No. 1, PageID.8 Filed 07/14/21 Page 8 of 12




confusion or to cause mistake, or to deceive as to affiliation . . . or as to origin, sponsorship, or

approval of goods [or] services . . . shall be liable in a civil action.”

    42. Defendant’s use of confusingly similar imitations of the SMOKE DADDY Trademarks,

including use of SMOKE DADDY’S and affiliated domain names, is likely to cause confusion,

deception, and mistake by creating the false and misleading impression that Defendant’s

business and services are affiliated, connected, or associated with Plaintiffs.

    43. Defendant is passing off his services as those of Plaintiffs’ in a manner that is false,

misleading, and misrepresentative of the nature, characteristics, and quality of Plaintiffs’

services.

    44. Defendant’s activities and conduct have been willful, deliberate, knowingly and

intentionally designed to trade upon the significant goodwill of Plaintiffs’ SMOKE DADDY

Trademarks, to cause confusion or mistake, and to deceive the public to the source or origin of

Defendant’s services.

    45. Defendant’s actions have caused and are likely to cause substantial injury to the public

and to Plaintiffs, their business, goodwill, and reputation.

    46. Defendant’s aforementioned acts constitute false designation of origin, unfair

competition, and trademark infringement in violation of 15 U.S.C. § 1125(a) (Section 43(a) of

the Lanham Act).

    47. Despite actual knowledge of the SMOKE DADDY Trademarks, Defendant’s continued

actions demonstrate a malicious, intentional, willful, and bad faith intent to trade on Plaintiffs’

goodwill and to cause confusion, deception, and mistake by intentionally portraying a non-

existent affiliation or relationship between Plaintiffs and Defendant’s businesses, services, and

websites, thereby causing significant and irreparable injury to Plaintiffs.


                                                    8
 Case 1:21-cv-00594-HYJ-SJB ECF No. 1, PageID.9 Filed 07/14/21 Page 9 of 12




    48. Plaintiffs are entitled to injunctive relief, and to recover Defendant’s profits associated

with the infringement and Plaintiffs’ costs.

                                                COUNT IV
                                            CYBERSQUATTING
                                           (LANHAM ACT § 43(d))

    49. Plaintiffs repeat and incorporate by reference the allegations contained in Paragraphs 1

through 48 as if fully set forth herein.

    50. Upon information and belief, Defendant registered, trafficked in, and is using a domain

name which includes, and is virtually identical or confusingly similar to Plaintiffs’ SMOKE

DADDY Trademarks. Upon information and belief the domain name encompasses the SMOKE

DADDY Trademarks in their entirety and confusingly similar to Plaintiffs’ bona fide

thesmokedaddy.com domain name, which is registered and operated by Plaintiffs.

    51. The SMOKE DADDY Trademarks were distinctive and, upon information and belief,

known to Defendant at the time he registered and/or acquired domain name(s) utilizing a

virtually identical or confusingly similar mark to Plaintiffs’ SMOKE DADDY Trademarks.

    52. Defendant has and continue to have a bad faith intent to profit from the confusingly

similar domain name. Defendants have no valid trademark rights in the SMOKE DADDY name

or any other mark incorporating the element “SMOKE DADDY.” Instead, Defendant has used

the domain name to divert actual or potential customers away from Plaintiffs’ website to

Defendants’ own website for the purpose of causing confusion and exploiting and harming the

goodwill of the SMOKE DADDY Trademarks, all for Defendant’s own commercial gain.

    53. Defendant’s aforementioned acts constitute cybersquatting in violation of 15 U.S.C. §

1125(d) (Section 43(d) of the Lanham Act).




                                                  9
Case 1:21-cv-00594-HYJ-SJB ECF No. 1, PageID.10 Filed 07/14/21 Page 10 of 12




   54. As a result of Defendant’s cybersquatting, Plaintiffs have suffered detriment to its

business, goodwill, reputation, and profits, all to its damage in an amount yet to be determined,

and subject to a treble damages award pursuant to 15 U.S.C. § 1117. In addition, Plaintiffs

believe that Defendant has derived and will continue to derive unlawful gains and profits as a

result of its unlawful acts. Alternatively, Plaintiffs are entitled to recover statutory damages.

If the aforesaid acts are permitted to continue, further loss and damage and irreparable injury will

be sustained by Plaintiffs, for which Plaintiffs have no adequate remedy at law. Injunctive relief

against such continued conduct by Defendants should be granted pursuant to this Court’s

authority under 15 U.S.C. §§ 1116 and 1118.

                                     PRAYER FOR RELIEF


Plaintiffs requests that the Court enter judgment against Defendant as follows:
       1. In favor of Plaintiffs and against Defendant as to each of the above counts;

       2. An injunction restraining, enjoining and prohibiting Defendant and any of his

agents, employees, representatives, successors, assigns, licensees, distributors, affiliates, and all

persons in active concert or participation with Defendants from using the SMOKE DADDY

Trademarks or any confusingly similar designations, alone or in combination with other words,

as a trademark, service mark, or trade name, to identify, market, distribute, advertise, promote,

to offer for sale or to provide BBQ restaurant services or related goods or services;

       3. An injunction against engaging in any conduct which will cause, or is likely to

cause, confusion, mistake, deception, or misunderstanding as to source, or confusion as to the

affiliation, connection, association, origin, sponsorship, or approval of Defendants’ business,

services, website or other activities with Plaintiffs or the SMOKE DADDY Trademarks;

       4. Require destruction of any materials using the SMOKE DADDY’S name;




                                                  10
Case 1:21-cv-00594-HYJ-SJB ECF No. 1, PageID.11 Filed 07/14/21 Page 11 of 12




       5. Require transfer to Plaintiffs of the any domain name using the terms SMOKE

DADDYS, or in the alternative, be ordered to forfeit the domain name or order the domain

name registration to be cancelled;

       6. Award Plaintiffs (a) all profits of Defendant, plus all losses of Plaintiffs, attributable

to Defendant’s infringement, the exact sum to be proven at the time of trial, or (b) statutory

damages, as elected by Plaintiffs prior to final judgment;

       7. Require Defendant pay damages incurred by Plaintiffs as a result of Defendants’

violations of 15 U.S.C. § 1125(a).

       8. Award Plaintiffs treble damages for all trademark damages assessed herein;

       9. Award Plaintiffs enhanced damages and Plaintiffs’ reasonable attorneys’ fees;

       10. Award Plaintiffs the costs of this action; and
       11. Such other legal and equitable relief as the Court deems proper.



                                        JURY DEMAND

   Plaintiffs demand a jury trial on all the issues so triable.




                                                  11
Case 1:21-cv-00594-HYJ-SJB ECF No. 1, PageID.12 Filed 07/14/21 Page 12 of 12




Dated: July 13, 2021                BY: O’Daddy, LLC and Smoke Daddy Foods,
                                        LLC

                                      Its counsel:

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                                     12
